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                          Exhibit A

                    Participating Parties List
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                 In re Boy Scouts of America and Delaware BSA, LLC
                           Revised Participating Parties List


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AIG (National Union Fire Insurance Company, Lexington Insurance Company, Landmark
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Maryland Casualty Company, Maryland American General Group, and American
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